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   July 29, 2021


   VIA ECF

   Honorable Julien Xavier Neals
   United States District Judge
   Martin Luther King Federal Building and U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07102

   Re:      Milano et al. v Cognizant Technology Solutions U.S. Corporation et al., Civil Action No.
            2:20-cv-17793-JXN-ESK

   Dear Judge Neals:

   We represent Defendants in the above-referenced matter and write to inform the Court of recent
   decisions that further support Defendants’ Motion to Dismiss Complaint: Lange v. Infinity Healthcare
   Physicians, S.C., 20-cv-737 (W.D. Wis. July 16, 2021) (“Lange”) (attached as Exhibit A); Wehner v.
   Genentech, Inc., No. 20-cv-06894, 2021 WL 2417098 (N.D. Cal. June 14, 2021) (“Genentech”)
   (attached as Exhibit B); and Matousek v. MidAmerican Energy Co., No. 20-cv-00352 (S.D. Iowa July
   2, 2021) (“Matousek”) (attached as Exhibit C).

   The court in Lange, relying on Thole v. U.S. Bank N.A., 140 S. Ct. 1615 (2020), dismissed a challenge
   to the prudence of certain actively managed funds for lack of standing, applying the “basic principle
   that a plaintiff lacks standing if she challenges investment decisions that did not personally affect
   her.” See Exhibit A, at 5. Plaintiffs also lack standing to challenge the ten actively managed funds
   in the Complaint because that they did not invest in any of them, so any alleged breach by
   Defendants as to those funds could have no effect on their Plan benefits. See Dkt. 16 (“Def. Mot.”),
   p. 13-15.

   Genentech supports dismissal of Plaintiffs’ challenge to ten of the Plan’s actively managed funds as
   well as the recordkeeping fees charged to participants in the Cognizant Plan, as both are insufficiently
   pled. In Genentech, the plaintiff challenged the Genentech plan’s recordkeeping fees as excessive
   and the selection and retention of target date funds (“TDFs”) as imprudent. As to the recordkeeping
   claim, the court rejected fourteen of plaintiff’s fifteen alleged comparator plans because the
   allegations failed to focus on the “specific services the recordkeeper provided to the specific plan at
   issue,” and the comparator plans had varying asset and participant sizes as compared to the
   challenged plan. See Exhibit B, at *5-6. So too here. Plaintiffs have failed to provide (i) any
   allegations regarding the level of recordkeeping and administrative services provided to the Plan, or
   how these fees are excessive relative to the services rendered, and (ii) any comparator plans of
   similar asset or participant sizes. Def. Mot., p. 31-35. The Genentech court also dismissed the




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   challenge to the TDFs based on poor performance, concluding that “without factual allegations that
   compare the products’ styles and strategies” the plaintiff—just like Plaintiffs here—failed to
   adequately allege “meaningful benchmarks” as required to give rise to an inference of imprudence
   at the pleading stage. See Exhibit B, at *8-9. The Genentech court rejected the notion that the
   determination of an appropriate benchmark cannot be “properly resolved at the motion to dismiss
   stage.” Id. at *9; see also Def. Mot., 22-25.

   Similarly, in Matousek, the court dismissed plaintiffs’ challenges to the plan’s fees and the
   performance of four funds for their failure “to identify a comparable fund with a materially similar
   style, structure, and goal” to the allegedly imprudent investment options included in the plan. See
   Exhibit C, at 1-2. The court agreed with the defendants that the plaintiffs’ reliance on comparators
   with different management styles, asset allocations, investment strategies, and goals was insufficient
   to establish meaningful benchmarks for assessing the prudence of the plan’s investment options.
   See id. at 1-2; see also Matousek, Dkt. 21-1, p. 7-12, 17.

   These three recent decisions, along with those cited in Defendants’ Motion to Dismiss, support
   dismissing Plaintiffs’ Complaint in its entirety.

   Respectfully submitted,

   /s/ Melissa D. Hill

   Melissa D. Hill


   cc: Counsel of Record (via ECF)
